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                         EXHIBIT 3
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                                   Case 4:20-cv-00957-SDJ               Document 804-5 Filed 02/18/25                              Page 2 of 11 PageID #:
EXHIBIT 3                                                                          59407                                                                        Privilige Log Dated 02/02/2024

Num    Author(s), Attorney(s),                                                                Custo    Nature of Privilege or
                                   Filename      Date      Witness   Witness   Recipient(s)                                                               Privilege Description
ber   and Legal Organization                                                                   dian    Protection Asserted
                                                                                                                                   Confidential memorandum--prepared at the direction of legal
     Jack Eiband, Summer Law                                                                                                       counsel, as part of active investigation into Google's advertising
     Clerk, TX OAG, at the                                                                            Opinion Work Product,        practices, and in anticipation of litigation by States Attorneys
     behest of Kelsey Payne,                                                                          Attorney-Client Privilege,   General against Google--that reflects the mental impressions and
     Margaret Sharp, and                                                                              and Common Interest          opinions of the author(s) regarding the interview of
   1 Gabriella Gonzalez                        7/16/2020                       TX OAG Files OAG       Privilege
                                                                                                                                   Confidential memorandum--prepared at the direction of legal
     Jack Eiband, Summer Law                                                                                                       counsel, as part of active investigation into Google's advertising
     Clerk, TX OAG, at the                                                                            Opinion Work Product,        practices, and in anticipation of litigation by States Attorneys
     behest of Kelsey Payne,                                                                          Attorney-Client Privilege,   General against Google--that reflects the mental impressions and
     Margaret Sharp, and                                                                              and Common Interest          opinions of the author(s) regarding the interview of
   2 Gabriella Gonzalez                         7/8/2020                       TX OAG Files OAG       Privilege
                                                                                                                                   Confidential memorandum--prepared at the direction of legal
     Jack Eiband, Summer Law                                                                                                       counsel, as part of active investigation into Google's advertising
     Clerk, TX OAG, at the                                                                            Opinion Work Product,        practices, and in anticipation of litigation by States Attorneys
     behest of Kelsey Payne,                                                                          Attorney-Client Privilege,   General against Google--that reflects the mental impressions and
     Margaret Sharp, and                                                                              and Common Interest          opinions of the author(s) regarding the interview of
   3 Gabriella Gonzalez                        10/7/2020                       TX OAG Files OAG       Privilege
                                                                                                                                   Confidential memorandum--prepared by legal counsel, as part of
                                                                                                      Opinion Work Product,        active investigation into Google's advertising practices, and in
                                                                                                      Attorney-Client Privilege,   anticipation of litigation by States Attorneys General against Google--
     Kelsey Paine, Attorney, TX                                                                       and Common Interest          that reflects the mental impressions and opinions of the author(s)
   4 OAG                                        6/5/2020                       TX OAG Files OAG       Privilege                    regarding the interview of
                                                                                                                                   Confidential memorandum--prepared by legal counsel, as part of
     Caleb Smith, Assistant                                                                                                        active investigation into Google's advertising practices, and in
     Attorney General, Office of                                                                      Opinion Work Product         anticipation of litigation by States Attorneys General against Google--
     the Oklahoma Attorney                    5/20/2020,                                              and Common Interest          that reflects the mental impressions and opinions of the author(s)
   5 General                                  5/26/2020                        TX OAG Files OAG       Privilege                    regarding the interview of
                                                                                                                                   Confidential memorandum--prepared by legal counsel, as part of
     John Olson, Deputy                                                                                                            active investigation into Google's advertising practices, and in
     Attorney General, Idaho                                                                                                       anticipation of litigation by States Attorneys General against Google--
     Attorney General’s Office,                                                                       Opinion Work Product         that reflects the mental impressions and opinions of the author(s)
     Consumer Protection                                                                              and Common Interest          regarding the interview of
   6 Division                                  6/12/2020                       TX OAG Files OAG       Privilege


                                                                                                                                   Confidential memorandum--prepared at the direction of legal
     Carissa Pryor, Law Clerk,                                                                                                     counsel, as part of active investigation into Google's advertising
     AZ OAG, at the behest of                                                                                                      practices, and in anticipation of litigation by States Attorneys
     Kelsey Payne, Margaret                                                                           Opinion Work Product         General against Google--that reflects the mental impressions and
     Sharp, and Gabriella                                                                             and Common Interest          opinions of the author(s) regarding the interview of
   7 Gonzalez                                  6/22/2020                       TX OAG Files OAG       Privilege




HIGHLY CONFIDENTIAL                                                                                                                                                                                          1
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                                                                                                               Confidential memorandum--prepared by legal counsel, as part of
                                                                                  Opinion Work Product,        active investigation into Google's advertising practices, and in
                                                                                  Attorney-Client Privilege,   anticipation of litigation by States Attorneys General against Google--
     Margaret Sharp, Assistant                                                    and Common Interest          that reflects the mental impressions and opinions of the author(s)
   8 Attorney General, TX OAG               7/22/2020          TX OAG Files OAG   Privilege                    regarding the interview of
                                                                                                               Confidential memorandum--prepared by legal counsel, as part of
                                                                                  Opinion Work Product,        active investigation into Google's advertising practices, and in
                                                                                  Attorney-Client Privilege,   anticipation of litigation by States Attorneys General against Google--
     Kelsey Paine, Attorney, TX                                                   and Common Interest          that reflects the mental impressions and opinions of the author(s)
   9 OAG                                    3/26/2020          TX OAG Files OAG   Privilege                    regarding the interview of
                                                                                                               Confidential memorandum--prepared by legal counsel, as part of
                                                                                                               active investigation into Google's advertising practices, and in
     Bryce Pashler, Assistant                                                     Opinion Work Product         anticipation of litigation by States Attorneys General against Google--
     Attorney General, Office of           4/21/2020,                             and Common Interest          that reflects the mental impressions and opinions of the author(s)
  10 Attorney General of Iowa              4/28/2020           TX OAG Files OAG   Privilege                    regarding the interview of
                                                                                                               Confidential memorandum--prepared by legal counsel, as part of
                                                                                  Opinion Work Product,        active investigation into Google's advertising practices, and in
                                                                                  Attorney-Client Privilege,   anticipation of litigation by States Attorneys General against Google--
     Kelsey Paine, Attorney, TX                                                   and Common Interest          that reflects the mental impressions and opinions of the author(s)
  11 OAG                                    1/24/2020          TX OAG Files OAG   Privilege                    regarding the interview of
                                                                                                               Confidential memorandum--prepared by legal counsel, as part of
                                                                                                               active investigation into Google's advertising practices, and in
                                                                                  Opinion Work Product         anticipation of litigation by States Attorneys General against Google--
     Christopher Sloot,                                                           and Common Interest          that reflects the mental impressions and opinions of the author(s)
  12 Attorney, AZ OAG                       7/30/2020          TX OAG Files OAG   Privilege                    regarding the interview of
                                                                                                               Confidential memorandum--prepared by legal counsel, as part of
                                                                                  Opinion Work Product,        active investigation into Google's advertising practices, and in
                                                                                  Attorney-Client Privilege,   anticipation of litigation by States Attorneys General against Google--
     Margaret Sharp, Assistant                                                    and Common Interest          that reflects the mental impressions and opinions of the author(s)
  13 Attorney General, TX OAG               8/18/2020          TX OAG Files OAG   Privilege                    regarding the interview of

                                                                                                               Confidential memorandum--prepared by legal counsel, as part of
                                                                                  Opinion Work Product,        active investigation into Google's advertising practices, and in
                                                                                  Attorney-Client Privilege,   anticipation of litigation by States Attorneys General against Google--
     Kelsey Paine, Attorney, TX                                                   and Common Interest          that reflects the mental impressions and opinions of the author(s)
  14 OAG                                    7/14/2020          TX OAG Files OAG   Privilege                    regarding the interview of
                                                                                                               Confidential memorandum--prepared at the direction of legal
     Jack Eiband, Summer Law                                                                                   counsel, as part of active investigation into Google's advertising
     Clerk, TX OAG, at the                                                        Opinion Work Product,        practices, and in anticipation of litigation by States Attorneys
     behest of Kelsey Payne,                                                      Attorney-Client Privilege,   General against Google--that reflects the mental impressions and
     Margaret Sharp, and                                                          and Common Interest          opinions of the author(s) regarding the interview of
  15 Gabriella Gonzalez                     9/18/2020          TX OAG Files OAG   Privilege




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                                                                                                              Confidential memorandum--prepared by legal counsel, as part of
                                                                                                              active investigation into Google's advertising practices, and in
                                                                                 Opinion Work Product,        anticipation of litigation by States Attorneys General against Google--
                                                                                 Attorney-Client Privilege,   that reflects the mental impressions and opinions of the author(s)
     Gabriella Gonzalez,                                                         and Common Interest          regarding the interview of Rich Caccappolo and Matt Wheatland of
  16 Attorney, TX OAG                       2/5/2020          TX OAG Files OAG   Privilege                    Daily Mail
                                                                                                              Confidential memorandum--prepared by legal counsel, as part of
                                                                                                              active investigation into Google's advertising practices, and in
                                                                                 Opinion Work Product,        anticipation of litigation by States Attorneys General against Google--
                                                                                 Attorney-Client Privilege,   that reflects the mental impressions and opinions of the author(s)
     Margaret Sharp, Assistant                                                   and Common Interest          regarding the interview of Rich Caccappolo and Matt Wheatland of
  17 Attorney General, TX OAG              10/6/2020          TX OAG Files OAG   Privilege                    Daily Mail

                                                                                                              Confidential memorandum--prepared by legal counsel, as part of
                                                                                 Opinion Work Product,        active investigation into Google's advertising practices, and in
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     Margaret Sharp, Assistant                                                   and Common Interest          that reflects the mental impressions and opinions of the author(s)
  18 Attorney General, TX OAG              7/15/2020          TX OAG Files OAG   Privilege                    regarding the interview of
                                                                                                              Confidential memorandum--prepared by legal counsel, as part of
                                                                                                              active investigation into Google's advertising practices, and in
                                                                                 Opinion Work Product,        anticipation of litigation by States Attorneys General against Google--
                                                                                 Attorney-Client Privilege,   that reflects the mental impressions and opinions of the author(s)
     Kelsey Paine, Attorney, TX                                                  and Common Interest          regarding the interview of
  19 OAG                                   3/17/2020          TX OAG Files OAG   Privilege

                                                                                                              Confidential memorandum--prepared by legal counsel, as part of
                                                                                                              active investigation into Google's advertising practices, and in
                                                                                 Opinion Work Product         anticipation of litigation by States Attorneys General against Google--
     Joseph Conrad, Nebraska                                                     and Common Interest          that reflects the mental impressions and opinions of the author(s)
  20 Assistant Attorney General            2/24/2020          TX OAG Files OAG   Privilege                    regarding the interview of

                                                                                                              Confidential memorandum--prepared by legal counsel, as part of
                                                                                 Opinion Work Product,        active investigation into Google's advertising practices, and in
                                                                                 Attorney-Client Privilege,   anticipation of litigation by States Attorneys General against Google--
     Kelsey Paine, Attorney, TX                                                  and Common Interest          that reflects the mental impressions and opinions of the author(s)
  21 OAG                                    4/7/2020          TX OAG Files OAG   Privilege                    regarding the interview of

                                                                                                              Confidential memorandum--prepared by legal counsel, as part of
                                                                                 Opinion Work Product,        active investigation into Google's advertising practices, and in
                                                                                 Attorney-Client Privilege,   anticipation of litigation by States Attorneys General against Google--
     Gabriella Gonzalez,                                                         and Common Interest          that reflects the mental impressions and opinions of the author(s)
  22 Attorney, TX OAG                      2/18/2020          TX OAG Files OAG   Privilege                    regarding the interview of




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                                                                                                               Confidential memorandum--prepared by legal counsel, as part of
                                                                                                               active investigation into Google's advertising practices, and in
                                                                                  Opinion Work Product         anticipation of litigation by States Attorneys General against Google--
     Christopher Sloot,                                                           and Common Interest          that reflects the mental impressions and opinions of the author(s)
  23 Attorney, AZ OAG                       4/22/2020          TX OAG Files OAG   Privilege                    regarding the interview of
                                                                                                               Confidential memorandum--prepared at the direction of legal
     Mitchell Anderson, Law                                                                                    counsel, as part of active investigation into Google's advertising
     Clerk, AZ OAG, at the                                                                                     practices, and in anticipation of litigation by States Attorneys
     behest of Kelsey Payne,                                                      Opinion Work Product         General against Google--that reflects the mental impressions and
     Margaret Sharp, and                                                          and Common Interest          opinions of the author(s) regarding the interview of
  24 Gabriella Gonzalez                      7/8/2020          TX OAG Files OAG   Privilege



                                                                                                               Confidential memorandum--prepared at the direction of legal
     Robert Lewis, Investigator,                                                                               counsel, as part of active investigation into Google's advertising
     TX OAG, at the behest of                                                     Opinion Work Product,        practices, and in anticipation of litigation by States Attorneys
     Kelsey Payne, Margaret                                                       Attorney-Client Privilege,   General against Google--that reflects the mental impressions and
     Sharp, and Gabriella                                                         and Common Interest          opinions of the author(s) regarding the interview of
  25 Gonzalez                                5/5/2020          TX OAG Files OAG   Privilege
                                                                                                               Confidential memorandum--prepared by legal counsel, as part of
                                                                                                               active investigation into Google's advertising practices, and in
     Jessica V. Sutton,                                                           Opinion Work Product         anticipation of litigation by States Attorneys General against Google--
     Assistant Attorney General,                                                  and Common Interest          that reflects the mental impressions and opinions of the author(s)
  26 North Carolina                          3/4/2020          TX OAG Files OAG   Privilege                    regarding the interview of




     Robert Lewis, Investigator,                                                                               Confidential memorandum--prepared by legal counsel, as part of
     TX OAG, at the behest of                                                     Opinion Work Product,        active investigation into Google's advertising practices, and in
     Kelsey Payne, Margaret                                                       Attorney-Client Privilege,   anticipation of litigation by States Attorneys General against Google--
     Sharp, and Gabriella                                                         and Common Interest          that reflects the mental impressions and opinions of the author(s)
  27 Gonzalez                               2/20/2020          TX OAG Files OAG   Privilege                    regarding the interview of

                                                                                                               Confidential memorandum--prepared by legal counsel, as part of
                                                                                  Opinion Work Product,        active investigation into Google's advertising practices, and in
                                                                                  Attorney-Client Privilege,   anticipation of litigation by States Attorneys General against Google--
     Margaret Sharp, Assistant                                                    and Common Interest          that reflects the mental impressions and opinions of the author(s)
  28 Attorney General, TX OAG               5/15/2020          TX OAG Files OAG   Privilege                    regarding the interview of

                                                                                                               Confidential memorandum--prepared by legal counsel, as part of
                                                                                  Opinion Work Product,        active investigation into Google's advertising practices, and in
                                                                                  Attorney-Client Privilege,   anticipation of litigation by States Attorneys General against Google--
     Kelsey Paine, Attorney, TX                                                   and Common Interest          that reflects the mental impressions and opinions of the author(s)
  29 OAG                                    1/28/2020          TX OAG Files OAG   Privilege                    regarding the interview of



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                                                                                                              Confidential memorandum--prepared by legal counsel, as part of
                                                                                 Opinion Work Product,        active investigation into Google's advertising practices, and in
                                                                                 Attorney-Client Privilege,   anticipation of litigation by States Attorneys General against Google--
     Kelsey Paine, Attorney, TX                                                  and Common Interest          that reflects the mental impressions and opinions of the author(s)
  30 OAG                                   6/29/2020          TX OAG Files OAG   Privilege                    regarding the interview of
                                                                                                              Confidential memorandum--prepared by legal counsel, as part of
                                                                                 Opinion Work Product,        active investigation into Google's advertising practices, and in
                                                                                 Attorney-Client Privilege,   anticipation of litigation by States Attorneys General against Google--
     Margaret Sharp, Assistant                                                   and Common Interest          that reflects the mental impressions and opinions of the author(s)
  31 Attorney General, TX OAG               6/9/2020          TX OAG Files OAG   Privilege                    regarding the interview of

                                                                                                              Confidential memorandum--prepared by legal counsel, as part of
     Norman W. Marden, Senior                                                                                 active investigation into Google's advertising practices, and in
     Deputy Attorney General,                                                    Opinion Work Product         anticipation of litigation by States Attorneys General against Google--
     Antitrust Section,                                                          and Common Interest          that reflects the mental impressions and opinions of the author(s)
  32 Pennsylvania                           4/6/2020          TX OAG Files OAG   Privilege                    regarding the interview of
                                                                                                              Confidential memorandum--prepared by legal counsel, as part of
                                                                                                              active investigation into Google's advertising practices, and in
                                                                                 Opinion Work Product,        anticipation of litigation by States Attorneys General against Google--
                                                                                 Attorney-Client Privilege,   that reflects the mental impressions and opinions of the author(s)
     Gabriella Gonzalez,                                                         and Common Interest          regarding the interview of
  33 Attorney, TX OAG                      3/31/2020          TX OAG Files OAG   Privilege

                                                                                                              Confidential memorandum--prepared by legal counsel, as part of
     Caleb Smith, Assistant                                                                                   active investigation into Google's advertising practices, and in
     Attorney General Office of                                                  Opinion Work Product         anticipation of litigation by States Attorneys General against Google--
     the Oklahoma Attorney                                                       and Common Interest          that reflects the mental impressions and opinions of the author(s)
  34 General                               4/13/2020          TX OAG Files OAG   Privilege                    regarding the interview of

                                                                                                              Confidential memorandum--prepared by legal counsel, as part of
                                                                                                              active investigation into Google's advertising practices, and in
                                                                                 Opinion Work Product         anticipation of litigation by States Attorneys General against Google--
     Christopher Sloot,                                                          and Common Interest          that reflects the mental impressions and opinions of the author(s)
  35 Attorney, AZ OAG                      2/11/2020          TX OAG Files OAG   Privilege                    regarding the interview of
                                                                                                              Confidential memorandum--prepared by legal counsel, as part of
     Caleb Smith, Assistant                                                                                   active investigation into Google's advertising practices, and in
     Attorney General Office of                                                  Opinion Work Product         anticipation of litigation by States Attorneys General against Google--
     the Oklahoma Attorney                                                       and Common Interest          that reflects the mental impressions and opinions of the author(s)
  36 General                               2/27/2020          TX OAG Files OAG   Privilege                    regarding the interview of
                                                                                                              Confidential memorandum--prepared by legal counsel, as part of
                                                                                 Opinion Work Product,        active investigation into Google's advertising practices, and in
                                                                                 Attorney-Client Privilege,   anticipation of litigation by States Attorneys General against Google--
     Kelsey Paine, Attorney, TX                                                  and Common Interest          that reflects the mental impressions and opinions of the author(s)
  37 OAG                                   3/18/2020          TX OAG Files OAG   Privilege                    regarding the interview of




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                                                                                                               Confidential memorandum--prepared by legal counsel, as part of
                                                                                                               active investigation into Google's advertising practices, and in
                                                                                                               anticipation of litigation by States Attorneys General against Google--
     Chris Dunbar, Assistant                                                      Opinion Work Product         that reflects the mental impressions and opinions of the author(s)
     Attorney General,                                                            and Common Interest          regarding the interview of
  38 Tennessee                              4/14/2020          TX OAG Files OAG   Privilege

                                                                                                               Confidential memorandum--prepared by legal counsel, as part of
                                                                                                               active investigation into Google's advertising practices, and in
                                                                                  Opinion Work Product         anticipation of litigation by States Attorneys General against Google--
     Ethan Bowers, Attorney,                                                      and Common Interest          that reflects the mental impressions and opinions of the author(s)
  39 TN OAG                                 7/13/2020          TX OAG Files OAG   Privilege                    regarding the interview of
                                                                                                               Confidential memorandum--prepared by legal counsel, as part of
                                                                                                               active investigation into Google's advertising practices, and in
                                                                                                               anticipation of litigation by States Attorneys General against Google--
                                                                                  Opinion Work Product         that reflects the mental impressions and opinions of the author(s)
     Tara Pincock, Attorney, UT                                                   and Common Interest          regarding the interview of
  40 OAG                                    5/27/2020          TX OAG Files OAG   Privilege

                                                                                                               Confidential memorandum--prepared by legal counsel, as part of
                                                                                                               active investigation into Google's advertising practices, and in
     Morgan J. Feder, Assistant                                                   Opinion Work Product         anticipation of litigation by States Attorneys General against Google--
     Attorney General, Antitrust                                                  and Common Interest          that reflects the mental impressions and opinions of the author(s)
  41 Bureau, New York OAG                   4/16/2020          TX OAG Files OAG   Privilege                    regarding the interview of
                                                                                                               Confidential memorandum--prepared at the direction of legal
     Carissa Pryor, Law Clerk,                                                                                 counsel, as part of active investigation into Google's advertising
     AZ OAG, at the behest of                                                                                  practices, and in anticipation of litigation by States Attorneys
     Kelsey Payne, Margaret                                                       Opinion Work Product         General against Google--that reflects the mental impressions and
     Sharp, and Gabriella                                                         and Common Interest          opinions of the author(s) regarding the interview of
  42 Gonzalez                                7/1/2020          TX OAG Files OAG   Privilege
                                                                                                               Confidential memorandum--prepared by legal counsel, as part of
                                                                                  Opinion Work Product,        active investigation into Google's advertising practices, and in
                                                                                  Attorney-Client Privilege,   anticipation of litigation by States Attorneys General against Google--
     Kelsey Paine, Attorney, TX                                                   and Common Interest          that reflects the mental impressions and opinions of the author(s)
  43 OAG                                    7/10/2020          TX OAG Files OAG   Privilege                    regarding the interview of
                                                                                                               Confidential memorandum--prepared by legal counsel, as part of
                                                                                                               active investigation into Google's advertising practices, and in
                                                                                  Opinion Work Product         anticipation of litigation by States Attorneys General against Google--
     Matt Michaloski, DAG,                                                        and Common Interest          that reflects the mental impressions and opinions of the author(s)
  44 Indiana OAG                           11/16/2020          TX OAG Files OAG   Privilege                    regarding the interview of
                                                                                                               Confidential memorandum--prepared by legal counsel, as part of
                                                                                                               active investigation into Google's advertising practices, and in
                                                                                  Opinion Work Product,        anticipation of litigation by States Attorneys General against Google--
                                                                                  Attorney-Client Privilege,   that reflects the mental impressions and opinions of the author(s)
     Gabriella Gonzalez,                                                          and Common Interest          regarding the interview of
  45 Attorney, TX OAG                       3/13/2020          TX OAG Files OAG   Privilege



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                                                                                                               Confidential memorandum--prepared by legal counsel, as part of
                                                                                  Opinion Work Product,        active investigation into Google's advertising practices, and in
                                                                                  Attorney-Client Privilege,   anticipation of litigation by States Attorneys General against Google--
     Margaret Sharp, Assistant                                                    and Common Interest          that reflects the mental impressions and opinions of the author(s)
  46 Attorney General, TX OAG                5/7/2020          TX OAG Files OAG   Privilege                    regarding the interview of
     John Olson, Deputy                                                                                        Confidential memorandum--prepared by legal counsel, as part of
     Attorney General, Idaho                                                                                   active investigation into Google's advertising practices, and in
     Attorney General’s Office,                                                   Opinion Work Product         anticipation of litigation by States Attorneys General against Google--
     Consumer Protection                                                          and Common Interest          that reflects the mental impressions and opinions of the author(s)
  47 Division                               10/1/2020          TX OAG Files OAG   Privilege                    regarding the interview of
                                                                                                               Confidential memorandum--prepared by legal counsel, as part of
                                                                                                               active investigation into Google's advertising practices, and in
                                                                                                               anticipation of litigation by States Attorneys General against Google--
     Jessica V. Sutton,                                                           Opinion Work Product         that reflects the mental impressions and opinions of the author(s)
     Assistant Attorney General,                                                  and Common Interest          regarding the interview of
  48 North Carolina                         5/13/2020          TX OAG Files OAG   Privilege
                                                                                                               Confidential memorandum--prepared by legal counsel, as part of
                                                                                                               active investigation into Google's advertising practices, and in
                                                                                  Opinion Work Product,        anticipation of litigation by States Attorneys General against Google--
                                                                                  Attorney-Client Privilege,   that reflects the mental impressions and opinions of the author(s)
     Kelsey Paine, Attorney, TX                                                   and Common Interest          regarding the interview of
  49 OAG                                    7/20/2020          TX OAG Files OAG   Privilege
                                                                                                               Confidential memorandum--prepared by legal counsel, as part of
                                                                                  Opinion Work Product,        active investigation into Google's advertising practices, and in
                                                                                  Attorney-Client Privilege,   anticipation of litigation by States Attorneys General against Google--
     Kelsey Paine, Attorney, TX                                                   and Common Interest          that reflects the mental impressions and opinions of the author(s)
  50 OAG                                    3/18/2020          TX OAG Files OAG   Privilege                    regarding the interview of
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                                                                                  Opinion Work Product         anticipation of litigation by States Attorneys General against Google--
     Joseph Conrad, Nebraska                                                      and Common Interest          that reflects the mental impressions and opinions of the author(s)
  51 Assistant Attorney General             4/17/2020          TX OAG Files OAG   Privilege                    regarding the interview of
                                                                                                               Confidential memorandum--prepared at the direction of legal
     Tian Fang, Legal Intern, TX                                                                               counsel, as part of active investigation into Google's advertising
     OAG, at the behest of                                                        Opinion Work Product,        practices, and in anticipation of litigation by States Attorneys
     Kelsey Payne, Margaret                                                       Attorney-Client Privilege,   General against Google--that reflects the mental impressions and
     Sharp, and Gabriella                                                         and Common Interest          opinions of the author(s) regarding the interview of
  52 Gonzalez                               9/17/2020          TX OAG Files OAG   Privilege
                                                                                                               Confidential memorandum--prepared by legal counsel, as part of
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                                                                                  Attorney-Client Privilege,   anticipation of litigation by States Attorneys General against Google--
     Kelsey Paine, Attorney, TX                                                   and Common Interest          that reflects the mental impressions and opinions of the author(s)
  53 OAG                                    1/21/2020          TX OAG Files OAG   Privilege                    regarding the interview of




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                                  Case 4:20-cv-00957-SDJ   Document 804-5 Filed 02/18/25                      Page 9 of 11 PageID #:
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                                                                                                              Confidential memorandum--prepared at the direction of legal
     Kevin Park, Law Clerk, TX                                                                                counsel, as part of active investigation into Google's advertising
     OAG, at the behest of                                                       Opinion Work Product,        practices, and in anticipation of litigation by States Attorneys
     Kelsey Payne, Margaret                                                      Attorney-Client Privilege,   General against Google--that reflects the mental impressions and
     Sharp, and Gabriella                                                        and Common Interest          opinions of the author(s) regarding the interview of
  54 Gonzalez                              7/22/2020          TX OAG Files OAG   Privilege
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                                                                                 Opinion Work Product         anticipation of litigation by States Attorneys General against Google--
     Matt Michaloski, DAG,                                                       and Common Interest          that reflects the mental impressions and opinions of the author(s)
  55 Indiana OAG                           8/28/2020          TX OAG Files OAG   Privilege                    regarding the interview of
                                                                                                              Confidential memorandum--prepared by legal counsel, as part of
                                                                                                              active investigation into Google's advertising practices, and in
                                                                                                              anticipation of litigation by States Attorneys General against Google--
                                                                                 Opinion Work Product         that reflects the mental impressions and opinions of the author(s)
     Christopher Sloot,                                                          and Common Interest          regarding the interview of
  56 Attorney, AZ OAG                      4/15/2020          TX OAG Files OAG   Privilege




                                                                                                              Confidential memorandum--prepared by legal counsel, as part of
                                                                                                              active investigation into Google's advertising practices, and in
                                                                                                              anticipation of litigation by States Attorneys General against Google--
                                                                                 Opinion Work Product         that reflects the mental impressions and opinions of the author(s)
     Christopher Sloot,                                                          and Common Interest          regarding the interview of
  57 Attorney, AZ OAG                      7/14/2020          TX OAG Files OAG   Privilege

                                                                                                              Confidential memorandum--prepared by legal counsel, as part of
                                                                                 Opinion Work Product,        active investigation into Google's advertising practices, and in
                                                                                 Attorney-Client Privilege,   anticipation of litigation by States Attorneys General against Google--
     Gabriella Gonzalez,                                                         and Common Interest          that reflects the mental impressions and opinions of the author(s)
  58 Attorney, TX OAG                      3/26/2020          TX OAG Files OAG   Privilege                    regarding the interview of
                                                                                                              Confidential memorandum--prepared by legal counsel, as part of
                                                                                                              active investigation into Google's advertising practices, and in
                                                                                 Opinion Work Product,        anticipation of litigation by States Attorneys General against Google--
                                                                                 Attorney-Client Privilege,   that reflects the mental impressions and opinions of the author(s)
     Gabriella Gonzalez,                                                         and Common Interest          regarding the interview of
  59 Attorney, TX OAG                      6/19/2020          TX OAG Files OAG   Privilege
                                                                                                              Confidential memorandum--prepared by legal counsel, as part of
                                                                                                              active investigation into Google's advertising practices, and in
                                                                                 Opinion Work Product,        anticipation of litigation by States Attorneys General against Google--
                                                                                 Attorney-Client Privilege,   that reflects the mental impressions and opinions of the author(s)
     Kelsey Paine, Attorney, TX                                                  and Common Interest          regarding the interview of
  60 OAG                                   2/12/2020          TX OAG Files OAG   Privilege




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                                                                                                                Confidential memorandum--prepared by legal counsel, as part of
                                                                                                                active investigation into Google's advertising practices, and in
                                                                                                                anticipation of litigation by States Attorneys General against Google--
                                                                                  Opinion Work Product          that reflects the mental impressions and opinions of the author(s)
     Tara Pincock, Attorney, UT                                                   and Common Interest           regarding the interview of
  61 OAG                                   3/31/2020           TX OAG Files OAG   Privilege
                                                                                                                Confidential memorandum--prepared at the direction of legal
     Kevin Park, Law Clerk, TX                                                                                  counsel, as part of active investigation into Google's advertising
     OAG, at the behest of                                                        Opinion Work Product,         practices, and in anticipation of litigation by States Attorneys
     Kelsey Payne, Margaret                                                       Attorney-Client Privilege,    General against Google--that reflects the mental impressions and
     Sharp, and Gabriella                                                         and Common Interest           opinions of the author(s) regarding the interview of
  62 Gonzalez                               7/9/2020           TX OAG Files OAG   Privilege

                                                                                                                Confidential memorandum--prepared by legal counsel, as part of
                                                                                  Opinion Work Product,         active investigation into Google's advertising practices, and in
                                                                                  Attorney-Client Privilege,    anticipation of litigation by States Attorneys General against Google--
     Margaret Sharp, Assistant                                                    and Common Interest           that reflects the mental impressions and opinions of the author(s)
  63 Attorney General, TX OAG              7/24/2020           TX OAG Files OAG   Privilege                     regarding the interview of

                                                                                                                Confidential memorandum--prepared by legal counsel, as part of
                                                                                  Opinion Work Product,         active investigation into Google's advertising practices, and in
                                                                                  Attorney-Client Privilege,    anticipation of litigation by States Attorneys General against Google--
     Margaret Sharp, Assistant                                                    and Common Interest           that reflects the mental impressions and opinions of the author(s)
  64 Attorney General, TX OAG              7/31/2020           TX OAG Files OAG   Privilege                     regarding the interview of
                                                                                                                Confidential memorandum--prepared by legal counsel, as part of
                                                                                  Opinion Work Product,         active investigation into Google's advertising practices, and in
                                                                                  Attorney-Client Privilege,    anticipation of litigation by States Attorneys General against Google--
     Margaret Sharp, Assistant                                                    and Common Interest           that reflects the mental impressions and opinions of the author(s)
  65 Attorney General, TX OAG              5/12/2020           TX OAG Files OAG   Privilege                     regarding the interview of




                                                                                                                Confidential memorandum--prepared by legal counsel, as part of
     John Olson, Deputy                                                                                         active investigation into Google's advertising practices, and in
     Attorney General, Idaho                                                                                    anticipation of litigation by States Attorneys General against Google--
     Attorney General’s Office,                                                   Opinion Work Product          that reflects the mental impressions and opinions of the author(s)
     Consumer Protection                                                          and Common Interest           regarding the interview of
  66 Division                              5/12/2020           TX OAG Files OAG   Privilege




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                                  Case 4:20-cv-00957-SDJ   Document 804-5 Filed 02/18/25                       Page 11 of 11 PageID #:
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                                                                                                                Confidential memorandum--prepared by legal counsel, as part of
                                                                                                                active investigation into Google's advertising practices, and in
                                                                                  Opinion Work Product,         anticipation of litigation by States Attorneys General against Google--
                                                                                  Attorney-Client Privilege,    that reflects the mental impressions and opinions of the author(s)
     Gabriella Gonzalez,                                                          and Common Interest           regarding the interview of
  67 Attorney, TX OAG                      2/21/2020           TX OAG Files OAG   Privilege
                                                                                                                Confidential memorandum--prepared by legal counsel, as part of
                                                                                                                active investigation into Google's advertising practices, and in
     Norman W. Marden, Senior                                                                                   anticipation of litigation by States Attorneys General against Google--
     Deputy Attorney General,                                                     Opinion Work Product          that reflects the mental impressions and opinions of the author(s)
     Antitrust Section,                                                           and Common Interest           regarding the interview of
  68 Pennsylvania                          9/11/2020           TX OAG Files OAG   Privilege

                                                                                                                Confidential memorandum--prepared by legal counsel, as part of
                                                                                  Opinion Work Product,         active investigation into Google's advertising practices, and in
                                                                                  Attorney-Client Privilege,    anticipation of litigation by States Attorneys General against Google--
     Kelsey Paine, Attorney, TX                                                   and Common Interest           that reflects the mental impressions and opinions of the author(s)
  69 OAG                                    3/1/2021           TX OAG Files OAG   Privilege                     regarding the interview of




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